Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 1 of 26

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YorK

 

ZEV Yeu ia N

  
     

 

 

 

 

    
   

 
      
 

     
   

  

   

Write the full name of each plaintiff. u iV é
(Include case number if one has been
assigned)

~against- .

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penne nen a AS GOVERMER oF Mia YORK ,ANO AS GovehVoR OVERS EER COMP LAIN T
Aus Tia cH Ss en OWA eH ee WALLY,

eee AN, Owen | “PERSONALLY AND AS M Do you want a jury trial?
CHIEF OF Police, AM aLisa RosAnio~NeRsowvarl ANG AS MTH Police y yny
= Te ws, Uo 5 MSO Yes [No
KNOWN AS Av aLisSA Frawer James Rosagig DANIEL DEMEZOR- LER Son ALL
wAN Doe } PEtgonAlLy vo AS Mra 3 OhEE OF BIKER
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A dog 20, MTA hate DokS 3-50, ASoN Dovgtas Saves PERSOWALL

HERE ROMS Rb ae mA Loumstz ?

ce above and

attach an additional sheet of paper with the full list of

names. The names listed above must be identical to those

contained in Section Il.

DEFOVOANTS ConTINvED | CYRUS VANCE PEDSOU ALLY AND AS Mew YoaKcouwTy DasrAlct ATTORNEY,

ASSISTAWT DA KATHLEEN Coul Son PERswALLy AUOAS Asst, 0.4.) Juliaw ShaRTRAND PEeRGou ALL

pEeRnsowaey AVO AS Asst, DAy “DiA).00€S 1-100 eRSOM ALLY

AND AS ASST, OA Ueuy KEATING
ANO AS employers oF DAS oFFICE :
AOSTA NTION, FRORKL TRAUSIT ADM K157PA70~0 n,

V5, OEPARTMEUT OF TPAUSOORTATEN, FEDER QL Ade
VS FeDopar Aeewcpes PoE j-30-
NOTICE

privacy and security reasons, papers filed
individual’s full social security number or full
or a complete financial account
ocial security number; the year of
its of a financial account number.

 
  
 
 

 
 
  
 

  

      

 

 

 

The public can access electronic court files. For
with the court should therefore not contain: an
birth date; the full name of a person known to be a minor;
number. A filing may include only: the last four digits of a s
an individual’s birth; a minor’s initials; and the last four dig

See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 1/9/17
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 2 of 26

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. Ina diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
[7 Federal Question
Cl Diversity of Citizenship
A. If you checked Federal Question
Which of your federal constitutional or federal statutory rights have been violated?
FA VEC /FI3 Bese D/41 wen 044 AP UEC 1Ql©) PUB AGIEI AS AC Ny, [4 Amowareasfe. 72
US Comsre US COWe i AntgeyineT 2 geomet ~ U0 24 USCIBET
vy STAY us: FALSE 14 Porioumopy VAlupss LPrgs0rvTi, ~ KE 4
C2s¥Avn tro £. LIL, Leen’ cwie pied, 4£60 18 OSC QF 2 ZIG USE 953
B. If you checked Diversity of Citizenship

1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , , is a citizen of the State of

(Plaintiffs name)

 

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

ZEV ouemal

 

 

 

 

 

First Name Middle Initial [ Last Name
RIES? staat LF SAS
Street Address
[Aines, BRoovly (ew Yoru HQIe
“County, City / State Zip Code
Telephone Number Email Address (if available)

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the

caption. Attach additional pages if needed.

Defendant1: METROPOLITAN TRANSPORTATION AUT fori y

First Name Last Name

eins 14 DEFEMOANTS ALL Wit 7A 1m THER TITLES

Current Job Title (or other identifying information)

a BRroapway

Current Work Addres¢( (or other address where defendant may be served)

 

 

NEU Yorn NEW Yoru __—«s 0004

County, City Stdte Zip Code
Defendant2: NEW York Coury Disraict Adttoameys OF Fice

_ First Name ast Name /

NEFAVOANTS “1S THROVEH "14 ALL WwiTH DA IN THEIRTineEs

Current Job Title (or other identifying information)

[00 CEWTRE STREET , 60 CENTRE STi RETA

Current Work Address (or other address where defendant may be served)

NEW. Yoru IVAW ony

County, City . state Zip Code

Defendant 3: U5, DéParrmewt oF TRANSPoRTAT aN, Femepac- ate AOmmsonne,
First Name Last Name

RVR TARMS|T  ADMMsSTAATION
Current Job Title (or other identifying information)

1200 aw sms AVE, SEL,

Current Work Address (6r other address where defendant may be served)

VALASHINGTOV 1). Ce QAOSIO

“County, City State Zip Code

Page 4
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Defendant: /S Fevemal Agencies Dok 1-30

First Name Last Name

 

Current Job Title (or other identifying information)

Ames AND ARURESSES VU po! orscourS

Current Work Address (or other address where defendant may be serve

 

County, City State Zip Code

II. STATEMENT OF CLAIM
Place(s) of occurrence: (pawvo CawtR ay Termin, 100 CENTRE STW, a Broanwsy MYC

Date(s) of occurrence: Sawuunery 24,2019, THRoveH Juby 42919, AUGUST 16,2014

 

 

FACTS: bo pays HAVE ECAASED SIMCE TIS CetIinar AS PEESEMTCOTO TA wien WeecerzuD To mane ie
f err’
State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed. FALSE AAREIT, ISOMMENT
AO AMTIGONINC ISSVE -
9/2019 yw bs. man DANE CZUK~ Vd His PAATHER thu DotA No

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Supervisor ov REGULAR ScAGOvLTO MOUNDS eT AA ew ToTHE SiTusTow oF Peay PFS Jew)S

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Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 6 of 26

 

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LoTINUia! PAs 6-H
INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

 

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> VEZ PLAIVIIE. r AUsID “6 MAVS ConA’ Duc To VPAVER

IV. RELIEF“ Certegy Fo eve; Fear Y Mvet Aol 'b

State briefly what money damages or other relief you want the court to order.

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SO. MYyse/0N YN oOLLCRRS flew Tyr

 

 

 

Page 6
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 7 of 26
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FACTS) = LavtiNerd

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6 MTA PAPRT7, REF EO SERVICE. TS See Fooo Te PC Ane PP Em Ptoyes of ERAN DAR
| Reresen fe Aceerr CAs Fam PLAWTIFE IN-RETURN Fok Food. 1/24)299 - ;

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By mrAPD AvO SUBSEquENT vioLdtions OF AAINTEFS RIGHTS By mrAnD ef Aad »

MTA VIOLATED THIS PLAINTIFE'S RiktTs AND OTHERS By MTAS Pobiay, ALLOWING VEMOORS

On MTA PROPERTY To DEWY THE USE OF CASH TD) PURCHASE Food > CAUSIGTHS PLay WHIFF To

suk ER. .

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I NO PUsIDIATY oF MoMTOAIMe MTA WIT cont Bb UTRWS —
Doe I-30, WeewOIe 1920S pace G-& SEE ATTACHMENTS
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 8 of 26

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may

result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to

_ proceed without prepayment of fees, each plaintiff must also submit an IFP application.
j/.av ava Lac =

Dated t #rai intiff's Signa re
ZEV tage

 

 

 

 

 

First Name Middle Initial / ast bkfme at
j sLopt
1274 49" Sr eer SHI
Street Address
Uines, Broottyn Us/ L/A19
County, City c Syate Zip Code
Telephone Number Email Address (if available)

[have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
[Yes ONo

if you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
: his capacity as MTA Police Detective, Jane Doe.2.- Personally
and in her capacity as: assistant $0 gonn Di ji

sas MEA Police Detective, John Doe:

| subjecting Complainant: te but

 

Case 1:20-Cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 9 of 26°

TO:
MTA General Counsel
Notice of Claim 2 Broadway, 4th. floor, | ran i Counsel

Zev Yourman - complainant
, eces ved

Against : _
Sheet aha Times

Metropolitan Transportation ‘Authority,

  
 
  

 

J. Foye - personally , and in his oot ay as MTA

Patrick
Chairman, Owen Monaghan - personally, and in his capacit A Iw
MTA Chief of Police, Andrew Cuomo - personally,and in his ue iy

capacity as Governor. overseer of MTA and appointer to its'
board, Daniel Demezuk - personally,and in his capacity as MTA
Police Officer, Jane Doe 1i- personally and in her capacity .
as MTA Police Sgt., John Doe 1-- personally and in his capacity

as MTA Police Officer, John Doe 2 - personally and in his.

capacity as MTA Police Officer, ‘John Doe 3 - personally and in

    
 

¢ 3 )lbn 50 :

 

-Defendant ial

wee tani ee ee cae ‘ew, cour: er, coe ee nme ee es Oe ea, st

The ‘following ig hereby affirmed to pe true winder pdhalty

~ oft pér jury - except that: which is upon knowledize | ana belief.

1.) on January 29, 2019 at approximate ly 3100 pom. at Grand

. “Central Terminal. the following actions: were | ‘conmenced and

committed by Defendants against ‘Complainant ‘this’. wiolating

    

- Gonblainantrs constitutionally guaranteed civil gehts,

not ‘limited to false imprisonment,

religious persecution, and intentionally causing Gomplainant

emotional distress but not Limi ted tO that or those: damages | or

  
  

actions.., inoluding but not limited to violati of the! equal

protection clauses, and eatablishment clauses." S. Cons tituséion:
ee.

  

Case-1:20-cv-00779-PGG6-DCFDocument-2—riled 01/2820-Rage 10 of 26.—--___—

2.) At the date time and place stated in above #1.,P.0;

Daniel Demcezuk together with John Doe 1 handcuffed , detained,
and placed in a jail cell the Complainant based. on. no lawful
reason thus committing unlawful arrest and unlawful (false )

imprisonment against the Complainant. .

©

3.) While complainant was’ hantoufted Demezuk and Doe 1

unlawfully. searched and emptied ‘the contents of Complainant's

pockets. !

4.) Demezuk and Doe 1 unlawfully placed Complainant in Jail

- cell.
5.) Demezuk and Doe 1 emptied the coritents of Complainant's

backpack onto common walkway hall floor. Unlawfully.

- 6.) Demezuk and Doe 1 proceeded to take apart, opan and. unwrap

all items from Complainant's backpack which had been thrown on

walkway floor and-threw the items back on the common walkway

floor.

Pe) Ine luded in the items thrown on the common walkway floor

were. a Jewish prayer book, a Mezuza (Jewish scroll), and a page |

. fron the Tora.

oi Dene zuk and Doe: 1 proceeded to step on the items strewn

eu)

: gewoss the common walkway floor including the Jewish Religious

<ebjects.

page 2.1
 

  
  

 

Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 «Page 11 of 26 4

9.) Complainant told Demezuk " you're stepping on a Jewish

prayer book" Demezuk responded "Jews-have no:--prayer books".

10.) Complainant later told Demezuk "you"re stepping on Jewish

ritual objects." Demezuk- responded " Jews have no ritual

objects."

11.) Complainant constantly asked Demczuk and Doe 1 to pick up

‘objects off the floor. They refused to pick Comphainant's
objects off the floor. :
12.) Coniplainant asked Jane Doe 1, a female police Set.

to pick up prayer book from the floor. Jane Doe 1 refused.

13.) Jéhn Doe 2 ,. ‘an. African-American police officer brought

in a visibly homeless man to step on complainant's objects.

th.) © John Doe 2 stepped on complainant's objects.
15.) “Complainant asked John Doe 2 to pick up Complainant's
‘objects off the floor. John Doe 2 refused.

enn Doe 3 was present in small police station while. .

above was going on and took no action.

1? ) Jane Doe 2, a dark skinned African American woman in
civilian dress,was present in small police tation while above
was: going on and took no action.

18:) Tohn Doe 1, discription, Irish-Anglo face. with glasses.

19.) The above stated actions against the Compiainant took

_ place under color of law and in violation of the Establishment
clause “of the US Constitution among other violations and ...°

actions against Complainant.

page 3.
 
 

Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 12 of 26

i

20.) Owen Monaghan, in his capacity as Chief of MPA pelice

has the ability to view real time. video of cameras located in

MTA police station and by Jail cells where Complainant's civil

rights were violated and in fact the whole terminal.

21.) Upon knowledge and belief , Monaghan's office is in the

Graybar building directly above and. a three-minute’ walk from
where Complainant's rights were violated.

22.) Monaghan did not come running down to put a stop to the’

violations against Complainant. |

23.) Monaghan did not delegate to another éxr supervise ‘another

tive rank to put a stop to. the violatio S ,againsé

   

 

police chain 0

for violat!

 

 
Case 1:20-cv-00779-PGG-DCF Document,2 | Filed 01/28/20 - Page 13 of 26
' 28.) Demeazuk fold Complainant to pick up his proper aes ag

and leave.

29.) Complainant proceeded to examine his items and place them

in backpack.
30.) Demezuk told Complainant * hurry up and leave or I' Ll

kick your ass." Demcezuk made a threatening lurching motion

towards Complainant and held up his fists.
31.) Patrick Foye is responsible for supervising Owen
Monaghan as Chief of MTA.police, in his capacity as MTA
Chairman, and in implementing MTA policy and supervising the

policies’ of the MTA and whose lack of implementation and
supervision of those policies or as a result. of those policies
caused violation of Complainant's rights. “heréfore: Foye is

. responsible for violation of Complainant's rights.

32.) Andrew Cuomo chooses MTA board members, finances MTA,

‘helps to implement MTA policies, and monitors the spending of
MTA finances, including the “Financing of the MTA -police:and.as
such Cuomo has the responsibility to make sure police activity
financed by such finances is implemented in a responsible manner.
which was not done in relationship to violation of Complainant's

rights. Cuomo's duties as stated above are in his. capacity as

governor.
WHEREFORE good reason for taking legal action against the MTA .
and its branches and relations and personel: for: violating
Complainant’ s civil rights and other damages has been presented
in this Notice of Claim to take legal action against the above.

Zev Yourman - pro se
44 fimeComplainant -, 1274 49th Street
suite 525, BKLN, NY 11219

resi

“aa

 
 

Case 1:20-cv-00779-PGG-DCF Document 2 Filed Q1/28/20--Page 14 of 26 /.

nsel - 2 Broadway,4th floor NYC 10017

To; MTA General Cou th flo
Zev Yourman, ;Complainant

Notice gof.Claim 3

Agains#. : “ _
Metropélitan Transportation Authoritys
Patrick J. "Peye - Bersonally, and if his capacity as MTA

Chairman, John poé(s) 1~50 and Jat® Doe(s) 1-50 personally

and as employees of “MTA » . M.T.A. General Counse!
Received ; f
SA timesd Yel
PRersonaye
ween "Tota Ke
ss: The following is hereby affirmed to be true under penalty of
perjury except that which is upon knowledge and belief.
1.) Because of the MTA's policy to allow shops in Grand Central
Terminal's hall adjacent to Vanderbilt Hall known as the Great
Northern Food Court (name upon knowledge and belief) to .
refuse cash in transactions the following eceurred to
complainant btesulting in damages to complainant. _
2.) *-9n" January 29, 2019 on or about 2.30 pm. Camplainant -
approached Grain Bar food stahl in the above: stated Food court,

 
   

Be
ot

  
  

With intention to.purchase food item.

3.) Employees of Grain Bar refused to accept cash from
complainant for transaction and refused to sell food item to”.
complainant . -

We) A verbal argument ensued. . Complainant then walked away.
5.) Employees followed Complainant into main terminal and then
into Hudson News Store. A distance of approximately 250 feet
and in a different hall from Grain Bar.

6.) Employees of Grain Bar cornered: the :Complainant in the
News: Store and threatened to do bodily" harm-to Complainant.

7.) Police came and falsely. arrested Complainant.

8,) The above all occurred agatnst’ the Complainant directly as
a result of MTA's Policy of allowing for, tlie-refusal of .-.» <
. Services to a class of people and. its' membérs,: users of cash.
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9.) The majority of cash users have issues with credit or

access to credit. A financial disadvantaged class largely

composed of minorities, immigrants, and homeless.
10.) MTA caused this Complainant to go hungry .as well as others

to go hungry (see above #9.)
141.) MTA's policies against this class breaches the guaranteed

NS Constitutional rights of these people and of this Complainant.
12.) MPA's violations against this class-and against this
Complainant in realm of Causes of Action is not limited to above.

Lo aun Zev Yourman --pro se
(
Complainant
eHelitingy, 1274 49th street:

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RBIS 4%, Bkln, NY 11219

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- Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 16 of 26

To MEA GSneral. Counsel -2 Broadway , 4th floor NYC 10017
To MTA General Counsel - 2 Broadway, 4t1 floor NYC 10017

Notice of Claim : Zev Yourman - Claimant
Against .
Metropolitan Transportation Authority,

oa Per.

Andrew Cuomo personally and in his capacity as Governor of .
State of New York and Governor overseer of MTA and appointer to
board, Patrick J. Foye - personally and in his capacity as

its'
MTA Chairman, Owen Monaghan - personally and in his capacity as
MTA Chief of Police, Analisa Rosario - personally and in her

Bere gy
~

capacity as MTA Police Detective , Analisa Rosario upon ..
knowledge and belief is also known as Analisa Franca. James-
Rosario, Daniel Demczuk ~ personally and in his capacity as MTA
Police Officer, John Doe 1 personally and in his capacity as MTA
Police Officer - Demezuk's partner, Jane Doe 1 personally and in
her capacity as MTA Police Sgt., John Doe 3 personally and ..:.
-as MTA Police Detective , Jane Doe 2 personally and in her 273
capacity as assistant to John Doe 3 in is capacity as MTA Police.
Detective, John Doe(s) 4-50, Jane Doe(s) 4-50, .
-~ Defendants--

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ss: The following is hereby affirmed to be true under -penalty

of perjury - except that which is upon knowledge and belief.

1. ) On January 29, 2019 at approximately 3:00 p.m. at Grand
Central Terminal the following actions were commenced and « =,
cemmitted by Defendants against Claimant and continuing on and
through April 2, 2019, May 9, 2019, July 8, 2019 thus violating
Claimant's constitutionally guaranteed civil rights”: “subjecting
Claimant to but not limited to Malicious Prosecution ,
Defamation per se, false arrest, false imprisonment, unlawful
-gearch and seizure and the manufactured results of’ that cover,

 

injury severe and everlasting including: but not:limited to
the compromise of Defendant's safety and security nationally and

| Aocopted: On Behalf Of
Metropolitan Transportation Authority Only

“ Zoey, OM

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internationally, and asa member of a class due to Defendant's
act and Acts of State against the a

Violations of the. ch a
Claimant , and Gb ng: emotional distress to Claimant, but not
or varied injury - -eaused by. .

Limited to “those:
Defendants , and” hot Lamibed to. those actions or.,Causes. of, Acton

by thes, Deferidants waeainst the Claimant and the: vabious’ arid” ye
jury caused by the actions of the oe
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fait and the damages thereof.

   
 
  

  

 

 

 
 
 
 

2. ye Ean i ef arc dang, and. place stated ing 3 Ao
Daniel. ‘Demezuk ogethedvawd th’ his partner John ‘Doe 1 ‘unlawfully

arrested and unlawfully imprisoned the Claimant... Oe

  

3.) ‘Hehomuehdnd! m a.

wy.
THEN | committed unlawful ‘ sedareh and °
seizute™ ceaibet = the ‘Claimant.

  
 
  
 
       
 
  
  
  

To “Demezul
Jail eel.
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ant” ‘through ‘the |

Mexican Ts -D veGandvand werer'seen ‘by this Olaim
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“want it verified

 

letters: ae:

“fife’ fad l aalt ‘tbo a nearby’ room and

seateduat a ponter baie! ona John Doe” 3 ‘an. MEA. Detective

and a\Black #emale
Both were in pain elothes, | ;

ake wt kote
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 18 of 26

8.) John Doe 3 said to Claimant * you're being charged with -

felony possession of a forged Mexican Passport which you used to

defraud and injurecanother." John Doe 3 then read this. Claimant
the Miranda rights and asked if this Claimant wished to talk.

Claimant chose not to talk.

scr vbe

6.) There came a time when complainant was released from -8hnt

custody.

10.) Complainant appeared in Court on three dates to face these
fabricated charges ApPil. 2,:2019, May 9, 2019, July 8,2019.

11.) On July 8, 2019 all charges were dropped and.case was | —
dismissed and sealed.

12.) The following information came out in courts

Demcezuk claimed to have recovered a Mexican Consulate 20 +2
identification card from this Claimant during “the search and

seizure of Claimant.

13.) Demezuk claimed that Detective Rosario informed him that
the Mexican consulate confirmed that the identification was
fraudulent.

14.) Rosario claimed that all facts furnished by her are true
with régards -to accusatory. instrument ; with reference to
above #13.

15.) Demezuk's claim of recovery of Mexican card,was, as es 7°
admitted by him,as a result of the search and..seizurve of this
Claimant.

16.) The search and seizure asswell as the initial-arrest and..~.
imprisonment were unlawful as the initial charges were non-
arrestable violations.

17.) <Any contraband’ that Demezuk. claimed to have recovered «
during the unlawful search and seizure would be considered off
limits to prosecution as per the fruit of the poisonous tree
doctrine. Therefore all issues concerning the Mexican Card

were off limits..and unprosecutable.
Case. 1:20-cv-00779-PGG-DCF Document 2. Filed 01/28/20 Page 19 of 26

18.) The FBI has stated that the Mexican Consulate ...

Tdentification Card is issued by the Mexican government and ite

associates specifically to undermine tnited States immigration —
policy and facilitate illegal immigration from Mexico. The FBI
has stated that due to the poor quality of production it is
impossible to tell a real card from a forged card.
Under Federal law any state or local government officia
whe accepts } sthe: card oF” ‘concept thereof as legitimate , as in
the instant claim, possesses the criminal intent (mens rea)

1 through action

as

necessary for a felony indictment.

19.) To be ‘specific with regard. to Defendants relationship
concerning the issues regarding this card By Defendants’
prosecution bind . going: 'g0 far as to contact the Mexican .,
government. as regards” ‘this.card , Defendants have shown ad A
nauseam thé engths to which they will go to recognize the 7
validity an Logi timaoy of ‘this card conceP*: “in other words thére.

 
   
 
 

te: policy which is ‘batee to ee
‘ederal policy. 2 :
rament. fas ‘established: strict standards
> with foreign governmérits by American

 

citinenyosvt ais ‘and ‘government officials .° These staridards
are “highly regulated’ _ and designed to protect American citizens
from the hostile interests of foreign governments ‘and their
criminal traitorous allies including Rosario , Demezuk and all.

 

their fellow, ‘criminal, ‘traitor Defendants as listed in full in)

the: caption.

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Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 20 of 26

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22.) Indeed the Defendants served as the de facto prosecutorial

arm of the narco-terrorist Mexican government in the instant

matter. oy

23.) The Mexican document prosecution was used as a cover to

justify the unlawful arrest and imprisonment on tthe initial
non-arrestable violations charges.

au.) ., Based on HL? _and #18.through $23. -the Defendants lacked

tae

jurisdiction to proséeute this matter. Lewes
25.) The Defendants violated the Espionage act and the. Sedition
act in the instant matter.
nformation

life. and °

26. ) ‘Rosario conveyed « -sensitive Security related i
to the Mexican government, jeopordizing the security,
safety of this Claimant as an individual and as a member..of a Me
class including but not limited to the following: MTA commuters, ,
passersby on MTA properties including but not limited to Grand

Central Terminal , Users of MTA facilities including but not

limited to Grand Central Terminal.

27.) Rosario conveyed the false damaging information concerning a

this Claimant as found in the criminal charges to the narco-..
‘terrorist Mexican regime thus placing this Claimant's life,
safety, and security,- “but not limited-to those, categories, in,’

“ ‘
wt

everlasting jeopardy not limited to locally, nationally, or
internationally. ,

28.) As has. ‘been shown above there has been clear collusion

in this matter between Rosario, Demczuk, John. Doe 1, Jane Doe 1,
John Doe 3, and Jane Doe 2 making this a basis for a RICO claim.
Furthermore. contact with a foreign government on this level

- gould have. only logicadily<.and- possibly have. odcurred .with
acquiescence from the entire MTA chain. of command. and

hierarchy , and even unto the top echelon of state: government,
and even unto the state itself encompassing all. the Defendants

as listed in the caption. Further establishing a basis for a

RTCO claim.

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_Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 21 of 26

29.) ‘Due to. the policies or lack thereof of Doak a
* the MTA + | a |
Due to. the implementation, of those policies bé. they

farmful,. unconstitutional, orsunlawful , oF. due to’failure “of

training or stipervisory protoco,. be those policies lawful; by .
ine luding “but.

those sesponpible for implementing those policies

 

not limited ito wen, Menagtian, “Patrick Foye, Andrew Cuomo
_ (also see. related. ‘Notiee of Claim dated April 25, 2019° .
fs 22., 235 24., 25., 264, Bley 32+ ‘) and all the Defendants

listed in, the caption
| Harmful action was caused £0 this Claimant .

30.) ° The. above | stated. aetions against this. Claimant:
. took place under golor of law. and in violation of Claimant’ s..

“rights under! the. US Constitution.

4

31.) All the Defendants as listed in the caption should have
known, could: Have : known, had the ability to know , and did know
the. harm being perpetrated against the Claimant and had the vy.
ability. to prevent ‘this harm - which was not done.

32.) Demezuk on the Police Verification/ Arraignment'Card

falsely stated this Claimant's weight as 180 pounds.
Typical of a generic central casting Mexican ethnic laborer.
. This Claiman't wears sine 34R slim cut suits Jackets and 28 inch | waist

trousers.
33.) | “Crain Bar charges:

BH.) 3 Besides. “enowingly. falsifying all information and charges

regarding. an alieged' Mexican. card
Demezuk ,
also. knowingly. falsified all information and charges regarding

the alleged’ Grain. Bar aineident .
Demezuk knowingly and falsely. stated that in Grand Central Terminal _

the defenaant- did- “yell - and scream at customers inside of the

Grain Bar" "creating" “alarm of more than 10 customers"
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 22 of 26

34. continued )

“--™he Grain Bar is a simple ~ showcase with room: for two

employees to work comfortably between the wall and. .the showcase
Demezuk falsely claims. and describes the Grain -Bar*to”’be a

"food establishment",a restaurant. There $s no room for customers.

Demcezuk knows and has reason to know that Grain Bar is a simple ©
stand as he patrols Grand Central on foot on a regular basis. —

35.)-Other false words used by Demezuk to disparage this |

Claimant ineTude’ but are not. limited to "the defendant,

with intent to cause public inconvenience, annoyance and alarm .

and recklessly creating a risk thereof, used abusive and obscene

language and: made an obscene gesture in a public place"
Defendant had "Intent to defraud, deceive, and injure another"s

at

"threw a projectile at an individual"

36.) This Claimant did in fact inform Demezuk while he handcuffed
him "I didn't do anything, I'm the victim here. @heck the videos"
Grand Central is heavily under video surveillance ‘both by. law
enforcement and the individual merchants. @laimant .sakd-" I+ want. “to
.press. Charges. “-Démezuk responded.."Take your complaint . downtown."

They. have witnesses you don't". He refused to make further inquiry.

37.) AS reagonable- “person. making atfurther , Angquéryy would - shave ..;
found out the following:
Claimant ‘a.white male-of small stature was denied service by
employees of Grain Bar shack stand. Employees. refused to
accept Claimant's cash. : A short disagreement occurnéd.
Claimant walked away. Claimant walked into:.a.different section
of Grand Central . Claimant walked into Hudson News store,

approximate ly" 300:: feet.: > _away.from Grain Bar. © 7 ti. -

Claimant found himself surrounded by several large
Africari.- American males. One of the African~ American males .-~’
had unnaturally large arm muscles (he was wearing a?ishort sleeve

ws

shirt ) He said to Claimant "I'm gonna bash your face in!

7
Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 23 of 26

37.) continued)
The African- American males were te employees from Grain

Bar. They had been stalking this Claimant through Grand . Central .

Terminal.
The Claimant started yelling for the police. The stalkers

backed off enough to let the Claimant escape into “thes adjoining.

corridor. The stalkers ran into the corridor as well. The MTA -

Police - Demezuk and partner John Doe 1 approached the stalkers
7 S

first. © Be See - ee

38.) Demozuk immediately hataéuffed this Claimant.
™he witnesses referred .to- in #30 were the stalkers witnessing

each other. .
39.) Ag giean Document debacle the ‘phony: ‘Grain Bar
incident was: also ‘used by defendants to maliciously prosecute ~

this Claimang » until they conceded.

   
  

40. ) Monaghan and his underlings have the ability to view all -
activity in Grand Gentral Terminal through the humerous video
cameras located along. the route of the Grain Bar incident.
Defendants had the ability to view the Grain Bar incident |

in real time and in-review. Defendants chose nat to do so

or chose to ignore what they saw, but not limited to that.

Tf equipment’ was inoperable this was due to Defendants '

incompetence, put not limited to that.

41.) Demezuk’ and’ his partner John Doe 1 had the obligation

to protect -- from the stalkers this Claimant ‘which*they did not
do. Demezuk had the obligation to take down a complaint against
the stalkers from this Claimant which he did not do.

42.) The Defendants were not trained properly. The Deféndants.
were not supervised properly. This refers to not only Demezuk
and John Doe. 4 but all Defendants up and down the line who: --
contributed to the violation of this Claimants. ‘rights.in the ;
Grain Bar incident due to their actions or inaétions but not

limited to . the above.

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Case 1:20-cv-00779-PGG-DCF Document 2 Filed 01/28/20 Page 24 of 26

42.) This paragraph represents the previous related claims,
notice of claims, and amendment with as much force or greater 7
force as if they appeared-here. This hereby incorporates all
the briefs in this matter into one.

43.) The stated actions against this Claimant as stated above?
in relation bo the Grain Bar case took place under color of law
and in violaition of Claimant's rights under the US Constitution.

WHEREF ORE rt is hereby shown through all the statements in the
paragraphs above that this Claimant has good cause for legal °
action against the Defendants listed herein.

Yours etc.

Zev Yourman
Zev Yourman =
1274 4oth Street

Suite 525 ¥
Brooklyn, NY, 11219

 

* uaisedin kings County
My Commis Jun 26,2021

 
 

 

Case 1: 20- Cv- 00779- PGG-DCF Document 2 Filed 01/28/20 Page 25 of 26.

a, Office of theNew York: City Comptroller

ee  Cieanntralier \ ‘+ Centre Street.

§ New York City;Comptroller | , Se New York, NY 10007
‘Scott'M. Stringer "

 
 
  
 
 

Form Version. NYC-COMPT-BLA-PIT-M

 

Personal Injury Claim. Form

~ Claim must be filed i in person-or: by: ragisteréed or certified mail within 90 days of the o¢currerice at the NYC,
Comptroller's.Office, 1 Centre Street; Room 1225, New York, New York 10007. It must bé notarized. If claimsis:
‘not resolved within 1 year and 90:days:ofthe occurrence, you must start legal’ action to preserve-your rights.
TYPE OR: PRINT ,

   

tam filing: 26n behalf of myself.

C On behalf of someone alse. ifon someone else's
behalf, please provide the followinginformation. C Attorney is fi ling,
a : Attomey Information (ifclaimansiiswepresented by attorney)

 

- Last Name:

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

     
     
   
   
   
   
   
   
   
   
 

 

 

 

 

 

 

 

 

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